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              ORAL ARGUMENT SET NOVEMBER 20, 2023

                                 No. 23-3190

             IN THE UNITED STATES COURT OF APPEALS
             FOR THE DISTRICT OF COLUMBIA CIRCUIT


UNITED STATES OF AMERICA,
                                           Appellee,
                                      v.

DONALD J. TRUMP,
                                        Defendant-Appellant.
                          ______________________

                On Appeal from the United States District Court
                        for the District of Columbia


              REPLY BRIEF OF DEFENDANT-APPELLANT
                  PRESIDENT DONALD J. TRUMP


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                    President Donald J. Trump

Gag Order…………………………….Opinion and Order in United States v.
                     Trump, No. 1:23-cr-257-TSC, 2023 WL
                     6818589, D. Ct. Doc.105 (Oct. 17, 2023),
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                          SUMMARY OF ARGUMENT

      The Gag Order installs a single federal judge as a barrier between the leading

candidate for President, President Donald J. Trump, and every American across the

country. The district court had no business inserting itself into the Presidential

election, just weeks before the Iowa caucuses. The First Amendment does not permit

the district court to micromanage President Trump’s core political speech, nor to

dictate what speech is sufficiently “general” and what speech is too “targeted” for

the court’s liking. J.A.231. Nor does the Due Process Clause. Gentile v. State Bar

of Nevada, 501 U.S. 1030, 1049 (1991). Silencing a Presidential candidate’s core

political speech at the height of his political campaign is “the essence of censorship.”

Nebraska Press Ass’n v. Stuart, 427 U.S. 539, 557 (1976) (citation omitted).

      The prosecution’s defense of the Gag Order fails at every step. The Gag Order

violates a long list of the First Amendment’s most basic doctrines—such as the

primacy of campaign speech, the audience’s right to listen, the categorical ban

against a “heckler’s veto,” and the heightened protection for criticism of public

figures, among others. The prosecution blithely assumes that these venerable

doctrines “ha[ve] no bearing on this appeal,” Resp.Br. 27, because the case involves

a pending criminal prosecution. That is indefensible. Criminal proceedings do not

suspend the First Amendment; if anything, they heighten the need for First

Amendment protections. Every case to consider speech restrictions about a pending

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criminal prosecution has taken care to give the First Amendment its maximum

possible application. This Court must do the same here.

      The prosecution’s brief highlights the glaring evidentiary gaps in its case. The

case has been pending for over three months, but the only alleged “threat” that the

prosecution, wrongfully, identifies in this case was made to the district judge on

August 5, 2023—before every statement that President Trump made about the judge,

and before almost every statement about this case that the prosecution cites of any

kind. President Trump did not cause a threat by speaking after the threat occurred.

Aside from this, the prosecution does not identify any instance of supposed threats,

harassment, or intimidation to any prosecutor, witness, or court staff in this case—

despite months of public commentary on the case by President Trump.

      The prosecution’s defense of the Gag Order suffers from other yawning

logical gaps. The prosecution relies heavily on a parallel gag order entered in New

York court, which has now been stayed pending appeal. The prosecution contends

that silencing a political candidate with over 100 million followers imposes an

“equal” injury as silencing a single speaker—an argument that would flunk first-

grade math.    The prosecution likens President Trump’s speech to Henry II’s

“meddlesome priest” comment—overlooking the difference in continents, countries,

and just a few historical developments since 1170, such as the Declaration of

Independence and the adoption of the First Amendment to our United States

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Constitution. The prosecution relies on hearsay media reports as a substitute for

evidence—all but proving the evidence in the record is inadequate.

       The Court should reverse the unconstitutional Gag Order.

                                   ARGUMENT

I.     The Prosecution’s Statement of Facts Highlights the Evidentiary Gaps.

       The prosecution’s statement of facts, Resp.Br. 4-7, effectively admits that the

record is “devoid of … ‘actual facts’” showing any imminent risk of threats,

harassment, or intimidation. Landmark Commc’ns, Inc. v. Virginia, 435 U.S. 829,

843 (1978). Instead, “of course this prejudice is speculative.” J.A.204. The

evidence falls far short of “the degree of certainty” that “cases on prior restraint

require.” Nebraska Press Ass’n, 427 U.S. at 568-69.

       The prosecution complains that President Trump “described the presiding

district judge as a ‘fraud’ and a ‘hack.’” Resp.Br. 4 & n.13 (citing J.A.79-80). But

the Gag Order does not restrict criticism of the district judge, and for good reason.

“The operations of the courts and the judicial conduct of judges are matters of utmost

public concern,” and “the law gives ‘[j]udges as persons, or courts as institutions ...

no greater immunity from criticism than other persons or institutions.’” Landmark

Commc’ns, 435 U.S. at 839 (citation omitted). Moreover, the challenged statements

were     posted    on    August      30,       2023,   see    J.A.80       n.13   (citing

https://truthsocial.com/@realDonaldTrump/posts/110980188106641474), so they

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could not possibly have caused the only “threat” that the prosecution identifies in

this case—the alleged threat to the district judge on August 5, 2023. Resp.Br.5. In

fact, none of President Trump’s statements criticizing the district judge cited by the

prosecution—and none of President Trump’s statements about this case, except a

post on August 2 that accused President Biden of directing the prosecution—

predates the alleged threat to the judge. See J.A.79-85, J.A.129-30.

      The prosecution argues that President Trump has “repeatedly called the

prosecutors handling the case ‘deranged,’ ‘thugs,’ and ‘lunatics,’” Resp.Br. 4, but it

does not identify any resulting threats or harassment or claim that the prosecutors

are even remotely intimidated by such speech. Id. at 4-5.

      The prosecution complains that President Trump “asserted that one of them

… had gone to the White House for an improper purpose,” and that this was

supposedly “false.” Resp.Br. 4. President Trump vigorously disagrees. See, e.g.,

Jon Levine, Biden Staffers Met With Special Counsel Jack Smith’s Aides Before

Trump       Indictment,       N.Y.       POST       (Aug.       26,      2023),       at

https://nypost.com/2023/08/26/biden-staffers-met-with-special-counsel-jack-

smiths-aides-before-trump-indictment/.         Whether the White House unduly

influenced this prosecution for political reasons lies at the heart of President Trump’s




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campaign and the First Amendment. The prosecution’s objection to this post is a

naked attempt to muzzle public criticism of itself.1

      The prosecution complains that President Trump made statements criticizing

Vice President Pence, General Milley, and former Congressman and White House

Chief of Staff Mark Meadows. Resp.Br. 4-5. The prosecution does not claim that

any of these potential witnesses received any threats or harassment, and it does not

contend that these individuals—public figures from the highest echelons of

government, many of whom publicly attack President Trump—feel in any way

threatened or intimidated by President Trump’s statements. See id. Nor does the

prosecution contend that their (often self-invited) public jousting with President

Trump is likely to affect these individuals’ testimony in any way. Id.

      The prosecution describes President Trump’s statement, “If you go after me,

I’m coming after you,” as a “public threat,” Resp.Br.4 (citing J.A.79). However, this

statement made no reference to this case, and his campaign explained that it was

made “in response to … special interest groups and Super PACs.” App.Br.15 n.7.



1
  The prosecution objects to criticism of the Special Counsel’s “family members.”
Resp.Br. 14 n.4, 18, 41. But Special Counsel’s wife reportedly produced a
documentary with Michelle Obama and donated at least $2,000 to President Biden’s
campaign. See, e.g., Victor Nava, Trump Special Counsel’s Wife Worked on Obama
Film and Donated to Biden, N.Y. POST (Nov. 11, 2023),
https://nypost.com/2022/11/23/trump-special-counsels-wife-worked-on-obama-
film-and-donated-to-biden/. In a dispute about prosecutorial motivation and bias,
these facts are matters of public concern.
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The prosecution ignores this explanation—the only evidence of what the statement

was actually referring to—and relies instead on naked speculation.

      The prosecution implies that this statement caused a random person to

threaten the district judge on August 5, 2023. Resp.Br. 5-6. Again, this is pure

speculation, and wrong to boot. As noted above, President Trump’s statements

criticizing the district judge came after the August 5 incident. J.A.79-80. The

prosecution also cites no evidence that this random individual was inspired to act by

President Trump’s August 4th social-media post, which did not even reference this

case. J.A.79. In the preceding four days, President Trump’s indictment was subject

to wall-to-wall media coverage, a nationally televised address by the Special

Counsel—which included extrajudicial, inappropriate, and incendiary comments—

and endless public commentary by others. The threatener might have been inspired

to act by any of this speech, or none of it.

      To establish causation, “more than post hoc, ergo propter hoc must be shown.”

Pub. L. Educ. Inst. v. U.S. Dep’t of Just., 744 F.2d 181, 183 (D.C. Cir. 1984);

Conservation Force v. Jewell, 160 F. Supp. 3d 194, 205 (D.D.C. 2016) (“[V]ague

assertions of post hoc, ergo propter hoc are insufficient…”). The Supreme Court

rejects causal “theories that rest on speculation about the decisions of independent

actors.”   Clapper v. Amnesty Int’l USA, 568 U.S. 398, 414 (2013).             Such




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“speculation,” id., cannot bear the “heavy burden of demonstrating” the need for a

prior restraint. Nebraska Press Ass’n, 427 U.S. at 569.

      The prosecution argues that the August 5th threat “was part of a pattern,

stretching back years, in which people publicly targeted by the defendant are …

subject to harassment, threats, and intimidation.” Resp.Br. 5-6. In fact, what

allegedly “stretch[es] back years,” id., without any concrete link to the present, is

the prosecution’s evidence. The prosecution relies on instances in which a few

individuals claimed to experience “threats” and “harassment” after being publicly

criticized in December 2020—nearly three years ago. Resp.Br. 6-7; J.A.76-78. And,

in many cases, the public criticisms did not even come from President Trump—the

prosecution attributes some to unidentified “surrogates,” J.A.76, and alleged “co-

conspirators,” J.A.77.

      Finally, the prosecution tries to shore up its evidentiary problems by citing a

series of unproven allegations from outside the record. The prosecution cites

allegations in the indictment, Resp.Br. 7, but those have not been proven by any

evidence, and they refer to alleged events that are three years old. See id. The

prosecution cites triple-hearsay media accounts about a leaked recording where an

individual supposedly speculates about President Trump’s intentions when he makes

statements unrelated to this case. Resp.Br. 7 (citing J.A.296 n.8). Such out-of-record




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materials, exempt from adversarial testing, provide a poor substitute for actual

evidence. Nebraska Press Ass’n, 427 U.S. at 565.

      Another failing tactic is the prosecution’s repeated reliance on media reports

about President Trump’s social-media post about the Principal Law Clerk of the

Justice presiding in the pending civil fraud trial in New York. Resp.Br. 6-7, 12, 13,

18. The district court raised this issue sua sponte. J.A.192-96. The court presumed,

evidently based on hearsay in media reports, that this statement was a gratuitous

attack on a nonpartisan, career court staffer. Id.

      In fact, this Principal Law Clerk sits beside the judge on the bench during trial,

passes notes to the judge constantly, consults with the judge before virtually every

ruling, and even questions counsel on behalf of the court directly—thus effectively

“co-judging” the trial. See Verified Joint Article 78 Petition in Trump v. Engoron,

Case No. 2023-05859 (N.Y. App. Div. filed Nov. 15, 2023), at 47. Moreover, this

law clerk made illegal political donations, in excess of the amount permitted for

court staff by New York law, to partisan Democratic organizations—including to

organizations that were actively supporting New York Attorney General James and

opposing President Trump, the parties before the New York court—while the case

was pending. Id. at 11-12. The picture of the law clerk with Senator Schumer was

posted by the law clerk herself while she was a candidate for public office in New




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York in 2022, on a social-media account associated with her political campaign. Id.

at 12.

         President Trump’s re-posting of that picture with a comment on how the trial

against him was being run represents core political speech criticizing a quintessential

public figure and highlighting illegal partisan activities that provide compelling

evidence of judicial bias in a pending case of enormous public interest—clearly

protected by the First Amendment. Contra Resp.Br.6-7. Accordingly, the New York

Appellate Division stayed the trial court’s gag orders on this issue yesterday. Bart

Jansen, New York Judge Suspends Donald Trump Gag Order in Civil Fraud Trial

While         Case    Is    Argued,      USA       TODAY       (Nov.      16,      2023),

https://www.usatoday.com/story/news/politics/2023/11/16/donald-trump-gag-

order-suspended-new-york/71610202007/ (linking to the stay order).

II.      The First Amendment Calls For the Most Exacting Scrutiny Here.

         A.     The Clear-and-Present-Danger Test Applies.

         The prosecution contends (at 21-25) that Gentile’s “substantial likelihood of

material prejudice” standard applies to all “trial participants,” not just attorneys.

This claim is central to their case, because they present no argument that the Gag

Order satisfies the clear-and-present-danger test. It is also plainly incorrect.

         Gentile’s adoption of the “substantial likelihood” standard rested entirely on

its detailed account of the special role of attorneys as “officers of the court.” Gentile,

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501 U.S. at 1065-76. The Supreme Court framed the issue as whether a standard

that differs from Nebraska Press Association could be imposed on “speech by a

lawyer.” Id. at 1065 (emphasis added). The Court noted cases that distinguished

“restraints on lawyers,” id., and then expounded “the history of the regulation of the

practice of law by the courts,” focusing on the courts “exercis[ing] authority to

discipline and ultimately disbar lawyers whose conduct departed from prescribed

standards.” Id. at 1066. This discussion of the history of courts’ regulation of

lawyers spans multiple pages. Id. at 1066-69. The Court noted that the State Bar

distinguished the “clear and present danger” cases by “point[ing] out … that none of

these cases involved lawyers….” Id. at 1070. The Court framed the issue as whether

“a lawyer who represents a criminal defendant involved with the criminal justice

system may insist on the same standard” in disciplinary proceedings. Id. at 1071.

      The Court then reasoned that “in the courtroom itself … whatever right to

‘free speech’ an attorney has is extremely circumscribed.” Id. It “observed that

lawyers in pending cases [a]re subject to ethical restrictions on speech to which an

ordinary citizen would not be.” Id. at 1071 (emphasis added). It noted that “a lawyer

actively participating in a trial … is not merely a person and not even merely a

lawyer,” but “an ‘officer of the court’….” Id. (quoting In re Sawyer, 360 U.S. 622,

666, 668 (1959) (Frankfurter, J., dissenting)). It highlighted “the State’s interest in

the regulation of a specialized profession.” Id. at 1073. And it contrasted “the

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common rights of citizens” with those of an attorney as “an officer of the court.” Id.

at 1074.

        For those reasons, Gentile concluded that “the speech of lawyers representing

clients in pending cases may be regulated under a less demanding standard….” Id.

(emphasis added). Gentile explained that “[l]awyers … are key participants in the

criminal justice system,” id., clarifying that the “trial participants” were lawyers as

officers of the court, not “ordinary citizen[s].” Id. at 1071; see also id. at 1075.

        In light of Gentile’s overwhelming focus on the special duties of lawyers—

spanning many pages of the Court’s discussion, id. at 1065-75—Brown’s statement

that Gentile “foreclosed the applicability” of the clear-and-present-danger test to

criminal defendants, Resp.Br. 23 (quoting United States v. Brown, 218 F.3d 415, 427

(5th Cir. 2000)), is unpersuasive. The prosecution contends that Seattle Times Co.

v. Rhinehart supports a lesser standard here, id., but Seattle Times involved a

restriction on publication of materials received through discovery, and thus it rested

on the separate rule that “[a] litigant has no First Amendment right of access to

information made available only for purposes of trying his suit.” 467 U.S. 20, 32

(1984). It did not address the distinct question whether a court may restrict a

criminal defendant’s core political speech criticizing the prosecution against him,

especially when the defendant is the leading political opponent of the prosecution’s

boss.

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      The prosecution’s other authorities do not assist them. In re Dow Jones & Co.

involved a gag order against leaks by “state and federal prosecutors’ violation of

grand jury secrecy,” 842 F.2d 603, 605 (2d Cir. 1988), which threatened the ability

of the “defendant to receive a fair trial by an impartial jury,” id. at 604. Thus, Dow

Jones involves attorney speech like Gentile, and it provides no plausible support for

violating a criminal defendant’s First Amendment rights. In fact, the criminal

defendant in Dow Jones sought the gag order to stop prosecutors from leaking

confidential grand-jury materials to the press, and thus Dow Jones upheld the gag

order as one “directed solely against trial participants and challenged only by the

press.” Id. at 608. Like the press in Dow Jones, the prosecution here “ignores the

fact that the defendants [in Dow Jones] requested the order and urge its affirmance.”

Id. at 609. Dow Jones held that “there is a fundamental difference between a gag

order challenged by the individual gagged and one challenged by a third party.” Id.

at 609. And, like Gentile, Dow Jones held “[t]t is altogether fitting that the solution

should restrict those at the source of the problem: counsel who serve as officers of

the court….” Id. at 612.

      Likewise, in The News-Journal Corp. v. Foxman, the criminal defendants

“endorsed the proposed restrictive order” on leaks to the media, 939 F.2d 1499, 1503

(11th Cir. 1991). It emphasized both that “the right to speak and publish does not

carry with it the unrestrained right to gather information,” and that “when First

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Amendment claims impinge upon the Sixth Amendment right to a trial by an

impartial jury, asserted First Amendment interests must yield to the ‘most

fundamental of all freedoms,’ the right to a fair trial for the accused.” Id. at 1512

(emphasis added).

      Dow Jones and Foxman underline a fatal irony—the prosecution relies

heavily on authorities focused on protecting the criminal defendant’s rights in

attempting, and failing, to justify violating the criminal defendant’s rights here. The

Supreme Court “has approved restriction on the communications of trial participants

where necessary to ensure a fair trail for a criminal defendant.” Seattle Times, 467

U.S. at 32 (emphasis added); see also, e.g., Landmark Commc’ns, 435 U.S. at 839;

Nebraska Press Ass’n, 427 U.S. at 543, 545, 547, 551-56; Sheppard v. Maxwell, 384

U.S. 333, 335, 350, 358, 362-63 (1966); Estes v. Texas, 381 U.S. 532, 540 (1965).

      Similarly, protecting the defendant’s rights is the “crux” of the “Free Press-

Fair Trial” report. See Report of the Committee on the Operation of the Jury System

on the “Free Press-Fair Trial” Issue, 45 F.R.D. 391, 393 (1966) (addressing “the

right of the individual accused of a crime to a trial by an impartial jury”). The

report’s recommendations focus on preserving the rights of the “accused,” see id. at

401-15. Gagging the accused is a profoundly different matter: “It is the individual

defendant to whom the Sixth Amendment guarantees a fair trial. It is the public to

whom the First Amendment guarantees reasonable access to criminal proceedings.

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And it is individuals, not the government, to whom First Amendment interests

attach.” United States v. Ford, 830 F.2d 596, 600 (6th Cir. 1987).

      The cases that the prosecution cites, therefore, are inapposite. The most

apposite case is Ford, which held that criminal defendants enjoy the same First

Amendment rights to make public statements as the media itself. 830 F.2d at 598.

Ford is consistent with the Supreme Court’s broader principle that ordinary citizens

enjoy the same First Amendment rights as the corporate media. Pell v. Procunier,

417 U.S. 817, 834-35 (1974). And though Brown purported to adopt a lesser

standard, the court granted complete relief to the defendant during his political

campaign. Brown, 218 F.3d at 430.

      Even if the Gentile standard applied, the Gag Order does not satisfy it. As

Justice Kennedy’s opinion in Gentile points out, the “substantial likelihood”

standard is extremely demanding—it “approximate[s] the clear and present danger

test.” 501 U.S. at 1037 (plurality op.). “The difference between” the two standards

is “mere semantics.” Id. The prosecution’s threadbare evidentiary presentation

cannot satisfy either test. See infra, Part II.C.

      B.     First Amendment Principles Call for the Strictest Scrutiny Here.

      Having badly misinterpreted Gentile, the prosecution then relies on that

misreading to reach its most astonishing conclusion—that all other First Amendment

doctrines are simply irrelevant in this case. According to the prosecution, President

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Trump’s supposedly “scattershot invocation” of the foundational First Amendment

principles “has no bearing on this appeal.” Resp.Br. 27 (emphasis added). In

essence, the prosecution incorrectly contends the pendency of criminal proceedings

simply suspends the First Amendment. Resp.Br. 27.

      Gentile provides no support for this conclusion, and overwhelming authority

contradicts it. Gentile itself held that the First Amendment is fully applicable in

criminal proceedings, and it tolerates “only narrow and necessary limitations on

lawyers’ speech.” 501 U.S. at 1075. Every other Supreme Court case on pretrial

speech restrictions has granted the First Amendment the maximum possible

application to criminal proceedings. See, e.g., Seattle Times, 467 U.S. at 32 & n.18

(1984); Landmark Commc’ns, 435 U.S. at 839; Nebraska Press Ass’n, 427 U.S. at

559; Sheppard, 384 U.S. at 350. Thus, just as the First Amendment precept against

prior restraints was given full application in Nebraska Press Association, the equally

foundational First Amendment doctrines cited by President Trump must be given the

fullest possible application here.      They counsel, both individually and in

combination, for the highest level of scrutiny of this extraordinary Gag Order.

             1.    The Gag Order restricts campaign speech.

      President Trump’s speech about this case is quintessential campaign speech,

to which the First Amendment has “its fullest and most urgent application.” App.Br.

31-32 (quoting Susan B. Anthony List v. Driehaus, 573 U.S. 149, 162 (2014)). The

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prosecution never disputes that President Trump’s gagged speech is quintessential

campaign speech. Instead, the prosecution simply dismisses this fundamental First

Amendment doctrine as having “no bearing on this appeal.” Resp.Br. 27.

      That is wrong. The courts that have considered gag orders on political

candidates have treated the presence of campaign speech as decisive, not irrelevant,

and they have refused to restrict campaign speech at all. See Ford, 830 F.2d at 600-

01; Brown, 218 F.3d at 430. The Supreme Court has “never allowed the government

to prohibit candidates from communicating relevant information to voters during an

election.” Republican Party of Minnesota v. White, 536 U.S. 765, 781-82 (2002).

Campaign speech “‘is at the core of our electoral process and of the First Amendment

freedoms,’ not at the edges.” Id. (citation omitted).

             2.     The Gag Order violates the rights of 100 million Americans.

      President Trump has over 100 million followers on social media, and his

audiences include virtually every American voter in the upcoming Presidential

election. App.Br. 34-36.2 Yet the prosecution argues that the size of President



2
  The prosecution argues that President Trump “did not squarely raise this issue until
his motion to stay the Order.” Resp.Br. 43. Not so. President Trump raised this
issue repeatedly in his opposition and at oral argument. J.A.98-99 (the gag order
would prevent President Trump “from presenting his side of the story to the
American people”); J.A.104 (arguing that the district court cannot be “the filter for
what the public may hear”); 117 (arguing that “the public has an interest in receiving
information about matters that are in litigation”); J.A.189 (arguing that the gag order
would be “against the American electorate that wants to hear from President Trump
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Trump’s audience makes no difference, because “[t]he public’s right to receive his

speech … is … ‘equal’ and ‘reciprocal’ to his own.” Resp.Br. 43. Thus, according

to the prosecution, a First Amendment violation that afflicts one person somehow

imposes no greater injury than one that afflicts over 100 million people. Id.

      This reasoning is obviously untenable. Because President Trump and his

audiences have “equal” and “reciprocal” interests in communicating and receiving

his speech, Resp.Br. 43, the fact that his audiences include over 100 million

Americans expands the significance of President Trump’s right to speak and the

magnitude of the First Amendment injury from silencing him. App.Br.34-36.

      The prosecution’s reliance on Dow Jones, Resp.Br. 43-44, is misplaced and,

at best, obtuse. Dow Jones involved an order that prevented state and federal

prosecutors from leaking confidential grand-jury materials to members of the press.

842 F.2d at 606. The news agencies’ right to receive that information was “entirely

derivative of the rights of the trial participants” to release it. Id. at 608. Here, the

Gag Order does not prevent President Trump from releasing materials to which he

has access only because of the court proceedings; it prevents him from commenting

on matters that are already in the public domain. J.A.229-31. In such a case, gagging

President Trump violates the free-speech rights of tens and tens of millions.



under these circumstances”); J.A.201 (arguing that “[t]he American people are
entitled to understand” President Trump’s message).
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      The prosecution argues that President Trump’s “followers continue to be able

to hear his views on a vast range of issues.” Resp.Br. 44. This argument is a

persistent theme throughout its brief—that President Trump should not complain

because the Gag Order graciously allows him to speak on court-approved

“general[]” political topics. J.A.231; Resp.Br. 39-42. The Supreme Court has

resoundingly rejected such reasoning: “It is simply not the function of government

to select which issues are worth discussing or debating in the course of a political

campaign.” White, 536 U.S. at 782 (citation omitted). The First Amendment does

not permit the district court or the prosecution to micromanage President Trump’s

campaign speech or dictate to him what forms of speech are “appropriate” for

political debate. Id.

             3.     The Gag Order is a heckler’s veto.

      The Gag Order restricts President Trump’s speech solely to prevent an

anticipated unruly reaction by third parties. App.Br. 36-39. This violates the

principle that “[t]he Government may not … t[ie] censorship to the reaction of the

speaker’s audience.”    Matal v. Tam, 582 U.S. 218, 250 (2017) (Kennedy, J.,

concurring in part and concurring in the judgment). The prosecution argues that the

unruly audience members are not “hostile” to President Trump’s message, Resp.Br.

34 n.9, but the First Amendment prohibits silencing speech based on the “reaction

of the speaker’s audience,” Matal, 582 U.S. at 250, regardless of whether that

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reaction is friendly or hostile. See Collin v. Chicago Park Dist., 460 F.2d 746, 754

(7th Cir. 1972) (holding that “the government may not prohibit speech under a

‘secondary effects’ rationale”).

      In fact, the incitement doctrine holds that a speaker cannot be held liable for

the unlawful reaction of a favorable audience unless the speech rises to the level of

incitement to imminent lawless action—which President Trump’s does not. Such a

prohibition “impermissibly intrudes upon the freedoms guaranteed by” the First

Amendment and “sweeps within its condemnation speech which our Constitution

has immunized from government control.” Brandenburg v. Ohio, 395 U.S. 444, 448

(1969). The prosecution’s speculation (at 34) about President Trump’s supposed

intent—supported by no evidence—makes no difference to the First Amendment

calculus.   For the same reasons, Henry II’s “meddlesome priest” comment,

Resp.Br.11; J.A.183, 202, is inapposite. Such a comment, if made today, would be

assessed under the incitement standard of Brandenburg, 395 U.S. at 448—which

none of President Trump’s statements satisfies, as the prosecution concedes.

      The prosecution argues that “courts routinely attach consequences or take

prophylactic measures in response to a defendant’s speech when it poses a potential

risk to witnesses, jurors, or officers of the court…” Resp.Br. 32. But the various

cases that the prosecution cites—most of which bear no resemblance to this case—

do not involve gag orders. See id. at 32-33. Instead, they involve less speech-

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restrictive alternatives like “empaneling [an] anonymous jury,” id. at 32-33—the

very alternatives that the district court failed to consider here. See infra, Part II.C.

             4.     The Gag Order restricts criticism of public figures.

      The Gag Order restricts public criticism of quintessential public figures like

the Special Counsel, other prosecutors, and former officials from the highest

echelons of government who routinely attack President Trump’s fitness for public

office. App.Br. 39-40. The prosecution responds that some of these officials “may

… receive increased protection from the Marshals Service or the Secret Service.”

Resp.Br. 35-36. This misses the point. The First Amendment provides the highest

level of protection for speech criticizing public figures, which is “at the very center

of the constitutionally protected area of free discussion.” Rosenblatt v. Baer, 383

U.S. 75, 85 (1966). The First Amendment does not turn on the level of “police

protection,” Resp.Br. 36, for those who have voluntarily “thrust” themselves “into

the vortex” of public debate. Gertz v. Robert Welch, Inc., 418 U.S. 323, 352 (1974).

      The prosecution argues that President Trump’s public comments “extend

beyond such figures to people like election workers and court personnel,” Resp.Br.

36, but it does not cite a single instance of such a statement by President Trump in

this case. By invoking statements that President Trump never made, the prosecution

underscores its central admission: “of course this prejudice is speculative.” J.A.204.




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      The prosecution’s argument that the Gag Order does not impose an

“impermissible double-standard” on campaign speech and political debate, Resp.Br.

48-50, cannot survive scrutiny. Attorney General Barr, for example, has written a

book criticizing President Trump and launched a full-throated media campaign to

argue that he is unfit for office, yet the Gag Order prevents President Trump from

responding with statements that “target” him, whatever that means. See infra, Part

III. The prosecution’s extensive discussion of John Gotti’s attorney (at 49-50) adds

nothing to this analysis. Among other things, that individual was an attorney, not a

defendant; he “had willfully violated” court orders, id., which President Trump has

not; and, in any event, he was not the leading candidate for President.

      C.     The Gag Order Is Not Narrowly Tailored.

      The Gag Order suppresses a wide range of core political speech that presents

no plausible threat to the administration of justice. This includes public criticisms

of the prosecutors, who are seasoned public figures who knowingly volunteered for

the highest-profile criminal prosecution in modern history; and other senior public

figures like Vice President Pence, Attorney General Barr, General Milley, and many

others. In fact, almost everything forbidden by the Gag Order falls into this category,

leaving the Gag Order with a “plainly legitimate sweep” that is vanishingly small.

Broadrick v. Oklahoma, 413 U.S. 601, 615 (1973).




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             1. Speech restrictions to avoid tainting the jury pool are
                inapposite.

      The prosecution argues that other courts have imposed broadly worded orders.

Resp.Br. 36-38. But in those cases, the orders were intended to prevent prejudice

from tainting the jury pool—a rationale that the district court declined to adopt here.

J.A.224-25. See, e.g., In re Stone, 940 F.3d 1332, 1335 (D.C. Cir. 2019); United

States v. Manafort, 897 F.3d 340, 342 (D.C. Cir. 2018); United States v. Tijerina, 412

F.2d 661, 666 (10th Cir. 1969). In fact, the prosecution admits that these broader

orders were entered because “such public statements risk biasing the jury pool.”

Resp.Br. 38. The prosecution’s lengthy discussion of the speech restrictions on John

Gotti’s lawyer, id. at 42-43 (quoting United States v. Cutler, 58 F.3d 825, 831 (2d

Cir. 1995)), suffers from the same error—those restricted speech that was

“deliberately couched to poison the well from which the jury would be selected,”

id., an interest that the Gag Order here does not purport to advance. Moreover, in

those cases, the speech restrictions were typically not subject to direct First

Amendment challenge, so there is no indication that they could have survived

tailoring scrutiny.

             2.       The Gag Order fails to consider less restrictive alternatives.

      The district court must consider and reject every less restrictive alternative,

“individually and in combination,” before gagging speech: “[E]ach must be explored

and ultimately rejected as inadequate—individually and in combination—as a
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remedy for prejudicial pretrial publicity before a restraining order is entered.” Dow

Jones, 842 F.2d at 611. Thus, the district court’s categorical refusal to consider the

most obvious alternative—postponing the trial until after the Presidential election,

J.A.162-65—is itself reversible error. Id.

      The prosecution argues that the district court considered “alternative measures

such as careful voir dire, jury sequestration, and cautionary jury instructions.”

Resp.Br. 45-46 (quoting J.A.229-30). But the prosecution (at 46) all but concedes

that the district court gave no meaningful consideration to postponing the trial date

until after the Presidential election—the first alternative that it should have

considered. Sheppard, 384 U.S. at 362-63. Instead, the prosecution argues that

“there is no reason to think that the targeting prohibited by the Order would cease

… with the passage of time.” Id. at 46. But delaying the trial date would, at very

least, alleviate massive First Amendment harms, such as silencing a political

candidate’s core political speech at the height of his campaign, and placing a gag

order between the leading candidate for President and the American electorate.

      The prosecution contends that “it is the defendant’s own conduct that is the

source of prejudice.” Resp.Br. 47. On the contrary, the prosecution and the district

court have created this First Amendment trainwreck by insisting on trying President

Trump only seven months after the indictment, on March 4, 2024, at the height of

campaign season. Indeed, this trial schedule is so aggressive and unrealistic that it

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was previously unheard-of for a complex case with nearly 13 million pages of

discovery and hundreds of potential witnesses.

       The prosecution argues that “prophylactic measures are preferred over

remedial ones.” Resp.Br. 47 (quoting Dow Jones, 842 F.2d at 609). But the

“remedial” measure that case law disfavors is retrying a case after conviction and

reversal on appeal, which President Trump is not proposing here. Dow Jones, 842

F.2d at 609; Nebraska Press Ass’n, 427 U.S. at 555. The alternatives that President

Trump proposes—such as postponing trial, careful voir dire, cautionary jury

instructions, empaneling an anonymous jury, security precautions, among others—

are all “prophylactic measures.” Dow Jones, 842 F.2d at 609. The district court

made no specific findings and gave them no meaningful consideration. J.A.229-30.

III.   The Gag Order Is Unconstitutionally Vague.

       The Supreme Court has repeatedly instructed that prior restraints on speech

are subject to “stricter” standards of clarity. See, e.g., Hynes v. Mayor & Council of

Borough of Oradell, 425 U.S. 610, 620 (1976); Buckley v. Valeo, 424 U.S. 1, 77

(1976); NAACP v. Button, 371 U.S. 415, 432 (1963) (requiring “narrow specificity”);

App.Br. 49-50. The prosecution (at 50-55) simply ignores this heightened standard.

       Likewise, the prosecution has no answer to the fundamental vagueness created

by a Gag Order that authorizes “general[]” criticism, but prohibits “target[ed]”

statements. J.A.231; see App.Br.54. Gentile invalidated as vague a virtually

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identical scheme—a rule that authorized “general” statements about a case but

prohibited “elaboration.”    501 U.S. at 1048-49.        Noting that “‘general’ and

‘elaboration’ are both classic terms of degree,” the Supreme Court held that lawyers

governed by the rule must “guess at its contours.” Id. So also here, the Gag Order

gives President Trump “no principle for determining when his remarks pass from the

safe harbor of the general to the forbidden sea of the [targeted].” Id. at 1049.

      The prosecution echoes the district court’s “clarification” in denying President

Trump’s stay motion that the Gag Order prohibits any “statements that could result

in significant and immediate risks to the integrity of these proceedings.” Resp.Br.51

(quoting J.A.338) (alterations omitted). But, according to the prosecution and the

district court, “significant and immediate risk to the integrity of the proceedings” is

the legal standard that authorizes the district court to gag President Trump in the

first place. Resp.Br.15 (quoting J.A.230); id. at 17, 34, 36, 51. As interpreted by

the district court, therefore, the Gag Order instructs President Trump not to make

any statements that the district court believes the Constitution authorizes it to gag.

J.A.338.   This is “an impermissible ‘obey the law’ injunction … that is not

meaningfully more specific than the law in question.”          Caudle v. District of

Columbia, 825 F. Supp. 2d 73, 81 (D.D.C. 2011); App.Br.51-52.

      The prosecution suggests that prohibited statements “typically consist of ad

hominem attacks using inflammatory language likely to arouse angry or violent

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feelings in the listener, rather than reasoned argument….” Resp.Br. 51. This adds

whole new dimensions of vagueness, as it rests on a series of subjective questions

about what constitute “inflammatory” and “ad hominem” “attacks,” as opposed to

“reasoned argument.” Id. Both the district court’s and the prosecution’s post-Order

“clarifications” would require President Trump to attempt to predict the reactions of

innumerable, unidentified third parties to his speech. Resp.Br.51; J.A.338. This

both chills speech in advance and calls for enforcement by hindsight, i.e., “on an ad

hoc and subjective basis, with the attendant dangers of arbitrary and discriminatory

application.” Grayned v. City of Rockford, 408 U.S. 104, 109 (1972).

      The prosecution cites United States v. Bronstein to argue that the Court should

not consult the dictionary to understand the Gag Order’s meaning. Resp.Br. 51. But

Bronstein itself consulted a range of dictionaries to arrive at its core holding—that

“harangue” and “oration” refer to “public speeches.” 849 F.3d 1101, 1108 (D.C.

Cir. 2017). When Bronstein stated that “we are interpreting a statute, not restating a

dictionary,” this Court was dismissing the fact that “harangue” and “oration,” “as

their dictionary definitions show, … can cover different facets of public speeches.”

Id. at 1108. This logic is inapplicable here, where President Trump has cited multiple

dictionary definitions showing that “target” has a wide range of meanings to ordinary

speakers of English. App.Br.50-51. Bronstein emphasizes that “the vagueness

doctrine assesses a legal term’s meaning to ‘ordinary people,’” and “[w]ords receive

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their ‘plain, obvious and common sense meaning.’” 849 F.3d at 1108 (citation

omitted). Here, that meaning of “target” is indeterminate because it has a wide range

of meanings to “ordinary people,” id., as the dictionary plainly shows. App.Br.50-

51.

      Moreover, Bronstein did not involve a prior restraint, see 849 F.3d at 1104-05,

and this Court did not cite the exacting standards of clarity that apply to prior

restraints. Moreover, the statutory terms in Bronstein had clear, discernible, core

meanings, id. at 1108-09, while the operative term here (“target”) has such a range

of meanings that it is vague to its core.

      The prosecution’s reliance on President Trump’s two posts—one before and

one after the administrative stay—illustrates the very chilling effect created by the

Gag Order’s vagueness. Resp.Br.17-18; J.A.339-40. The post-stay posting contains

core political speech on matters of enormous public concern which President Trump

evidently did not feel free to post while the Gag Order was in effect—yet even the

district court that entered the Gag Order the week before could not quite determine

that this post would have violated it. J.A.340. This illustrates the Gag Order’s ability

to deter a much wider range of postings expressing core political speech, which

appears to be the prosecution’s base goal. The Gag Order’s vague prohibitions

“operate to inhibit protected expression by inducing [President Trump] to steer far

wider of the unlawful zone than if the boundaries of the forbidden areas were clearly

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marked.” Buckley, 424 U.S. at 41 n.48 (quoting Grayned, 408 U.S. at 108-109)

(cleaned up).

      Finally, the prosecution’s reliance on President Trump’s terms of release,

Resp.Br.53, undermines its case. Those terms of release include a standard term

designed to prevent the very ills that the Gag Order addresses—such as witness

interference, threats, or intimidation. S.A.3. The prosecution does not contend that

President Trump has violated this term of release, nor explain why it fails to prevent

the “speculative” prejudice, J.A.204, that the prosecution supposedly fears.

                                  CONCLUSION

      The Gag Order should be reversed.




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Dated: November 17, 2023          Respectfully Submitted,

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                         CERTIFICATE OF SERVICE

      I hereby certify that, on November 17, 2023, I caused a true and correct copy

of the foregoing to be filed by the Court’s electronic filing system, to be served by

operation of the Court’s electronic filing system on counsel for all parties who have

entered in the case.

                                                                   /s/ D. John Sauer




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